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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
ABDULLATIF NASSER,                   )
                                     )
      Petitioner,                   )
                                    )
       v.                            )  Civ. Action No. 05-764 (CKK)
                                     )
BARACK OBAMA, et al.,                )
                                     )
      Respondents.                   )
____________________________________)

                      JOINT MOTION TO STAY THE PROCEEDINGS

       Petitioner ABDULLATIF NASSER, by and through his attorneys, THOMAS

ANTHONY DURKIN, and JANIS D. ROBERTS, together with counsel for the Respondents,

ERIC J. SOSKIN, respectfully move this Court for its order staying these proceedings pending

the further legal development of the issues raised in the recently filed petition for habeas corpus in

the case of Muhammadi Davliatov v. Obama, et al.; Case No. 15-cv-1959-CRC.

       In support of this Motion, the parties show the Court the following:

       1.      In its Minute Orders of October 19, 2015, this Court ordered Respondents to file

status reports with the Court. (Dkt #248).

       2.      On November 16, 2015, Respondents filed a Status Report (Dkt. #249), which

stated that the parties had agreed to seek a stay of further proceedings in this matter, and that they

would file another joint status report on December 4, 2015.

       3.      On November 5, 2015, a petition for habeas corpus was filed in a case pending

before Judge Christopher R. Cooper captioned Muhammadi Davliatov v. Obama, et al.; Case No.

15-cv-1959-CRC. A copy of said petition is attached hereto as Ex. A.
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       4.      The gist of the petition is that Detainee Davliatov’s continuing detention is not

authorized by the Authorization for Military Force (“AUMF”), Pub. L. 107-40, §2(a), 115 Stat.

224, 224 (2001), which “authorizes only ‘necessary and appropriate force,’ which limits the

duration of Petitioner’s detention and requires release without further delay, and does not authorize

Petitioner’s continuing indefinite detention.” See, Ex. A, ¶ 15.

       5.      The Petition also alleges that: “the Due Process Clause of the Constitution applies

at Guantanamo and limits the duration of Petitioner’s detention. Due Process and habeas corpus

are inextricably intertwined, and imposition of due process limits on Petitioner’s indefinite

detention without foreseeable end is not otherwise impractical or anomalous.” See, Ex. A ¶ 16.

       6.      While there are factual distinctions between Petitioner Nasser and Detainee

Davliatov (and Respondents will oppose Detainee Davliatov’s arguments), in the event the basis

of Davliatov's claims is upheld, Petitioner Nasser would be likely to raise similar claims in his

challenge to detention, which would affect the course of further proceedings in this case.

       7.      As such, the parties believe that a stay of these proceedings pending resolution of

the claims raised in 15-cv-1959 is in the interests of judicial economy and fundamental fairness.

       8.      Accordingly the parties jointly request that a stay be entered forthwith.

       9.      The parties propose to provide a joint status report every three months to update

this Court on whether a continued stay in this matter is warranted, and will provide the first such

report on March 4, 2016.

       10.     This motion is made in good faith and not for purposes of delay.
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Dated: December 4, 2015                 Respectfully Submitted,

                                        /s/ Thomas Anthony Durkin
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